      Case 1:16-cv-09517-LAK-KHP Document 340 Filed 11/09/20 Page 1 of 4




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


  DANIEL KLEEBERG, et al.,
                                                                                11/9/2020
                         Plaintiffs,

          ‐against‐                                   16‐CV‐9517(LAK)(KHP)

  LESTER EBER, et al.,

                         Defendants,
                                                      PARTIAL FINAL ORDER AND JUDGMENT
          and                                         OF DISMISSAL AS TO DEFENDANT THE
                                                      ESTATE OF ELLIOTT W. GUMAER, JR.
  EBER BROS. & CO., INC., et al.,

                         Nominal Defendants.



KATHERINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

       Plaintiffs, Daniel Kleeberg, Lisa Stein, and Audrey Hays (“Plaintiffs”), and Defendant the

Estate of Elliott W. Gumaer, Jr. (the “Estate”) have jointly moved for this Court to approve the

dismissal of Plaintiffs’ derivative claims filed on behalf of Nominal Defendants Eber Bros. & Co.,

Inc. (“EB&C”) and Eber Bros. Wine and Liquor Corp. (“EBWLC”) (together, all the foregoing

named parties are the “Settling Parties”), and to dismiss all of Plaintiffs’ direct claims against

the Estate and the Estate’s crossclaim against the other Defendants.

       Federal Rule of Civil Procedure 23.1(c) provides that “[a] derivative action may be

settled, voluntarily dismissed, or compromised only with the court's approval.” In this case,

Plaintiffs have asserted direct claims for breach of fiduciary duty and fraudulent concealment

against the Estate based on what they have alleged to have been a breach of trust by Gumaer


                                                  1
   Case
     Case
        1:16-cv-09517-LAK-KHP
          1:16-cv-09517-LAK-KHPDocument
                                 Document
                                        331-1
                                          340 Filed
                                              Filed 10/08/20
                                                    11/09/20 Page
                                                             Page 15
                                                                  2 ofof417




in his role as trustee of the Allen Eber Trust, of which the Plaintiffs were beneficiaries. Plaintiffs

and the Estate have settled their direct claims and ask this Court to approve the dismissal of the

derivative claims. The dismissal of the Plaintiffs’ direct claims and the Estate’s crossclaim is

contingent on this Court’s approval of the dismissal of the derivative claims.

       This Court hereby finds and orders:

       1. The Court has jurisdiction over the subject matter of Plaintiffs’ derivative claims and

           the Settling Parties.

       2. The Court finds that no notice to any non‐parties is required or appropriate in order

           to approve the dismissal of the derivative claims. Without deciding the actual

           interests of the entities in this Order, the Court finds that the only persons asserting

           any claim to have an interest in either EB&C and EBWLC are already joined as parties

           to this lawsuit.

       3. The Court grants final approval to the dismissal of the derivative claims asserted on

           behalf of EB&C and EBWLC on the terms set forth in the Settlement and Dismissal

           Agreement and Release, and finds that it is, in all respects, fair, reasonable, and

           adequate, and in the best interest of EB&C and EBWLC’s shareholders. Although no

           payment will be received by EB&C or EBWLC, neither will those entities be

           responsible for legal fees to Plaintiffs’ counsel for work that has been performed

           solely in connection with claims or defenses concerning the Estate, nor will those

           entities be potentially liable to indemnify the Estate pursuant to their respective

           bylaws.




                                                  2
Case
  Case
     1:16-cv-09517-LAK-KHP
       1:16-cv-09517-LAK-KHPDocument
                              Document
                                     331-1
                                       340 Filed
                                           Filed 10/08/20
                                                 11/09/20 Page
                                                          Page 16
                                                               3 ofof417




   4. All Plaintiffs’ claims against the Estate, as stated in the Third Amended Complaint

      filed on June 18, 2019, including all direct and derivative claims, are hereby

      dismissed with prejudice.

   5. The Estate’s crossclaim against the other Defendants, as stated in the Estate’s

      Answer to the Third Amended Complaint filed on June 19, 2019, is hereby dismissed

      with prejudice.

   6. The Settling Parties are to bear their own costs incurred distinctly in connection with

      claims asserted against, or defenses asserted by, the Estate. This shall not affect the

      ability of Plaintiffs to seek costs, including attorney’s fees, from any of the other

      Defendants, or to apply for an award of costs and fees from the Nominal Defendants

      EB&C or EBWLC if and when such entity receives a recovery or other benefit that

      might warrant such relief.

   7. In the event that the payment to Plaintiffs in settlement of their direct claims against

      the Estate is not made in accordance with the Settling Parties’ agreement, Plaintiffs

      may move for this Court for relief from this Order and Judgment pursuant to Federal

      Rule of Civil Procedure 60(b) and to reinstate their claims, both direct and derivative,

      against the Estate. If such relief is sought, the Estate may reinstate its crossclaim.

   8. Upon entry of this Partial Final Order and Judgment, the Estate shall be released and

      discharged, finally and forever, from any and all Claims that have been or could have

      been asserted by any of the Plaintiffs, or by any other stockholder derivatively on

      behalf of EB&C or EBWLC, or by EB&C or EBWLC directly, arising out of or relating to:




                                            3
  Case
    Case
       1:16-cv-09517-LAK-KHP
         1:16-cv-09517-LAK-KHPDocument
                                Document
                                       331-1
                                         340 Filed
                                             Filed 10/08/20
                                                   11/09/20 Page
                                                            Page 17
                                                                 4 ofof417




              a. any of the facts, matters, transactions, acts, omissions, or circumstances

                 alleged, or that could have been alleged, in the Third Amended Complaint or

                 any prior iteration thereof;

              b. Gumaer’s conduct with respect to EB&C or EBWLC or any of their related

                 companies, whether Gumaer engaged in such conduct as a director, legal

                 counsel, or in any other capacity; or

              c. the dismissal of the derivative claims.

     9. In accordance with Federal Rule of Civil Procedure 54(b), this Court directs entry of

         final judgment as to the Estate, dismissing all of the claims against it, and finds no

         just reason to delay the entry of said judgment.

     10. Judgment shall be, and hereby is, entered dismissing all claims against the Estate

         with prejudice. This is a final, appealable judgment and should be entered forthwith

         by the Clerk.

SO ORDERED.

DATED:        New York, New York
              ____________,
              November 9 2020
                                                    __________________________
                                                    KATHERINE H. PARKER
                                                    United States Magistrate Judge




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